      Case: 1:20-cv-05058 Document #: 6 Filed: 08/28/20 Page 1 of 2 PageID #:32




                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


XYZ CORPORATION,

       PLAINTIFF,

V.
                                                        CIVIL ACTION NO.: 1:20-CV-05058
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”

       DEFENDANTS.



              PLAINTIFF’S MOTION FOR LEAVE TO FILE UNDER SEAL

       Plaintiff, XYZ Corporation (“Plaintiff”), by its undersigned counsel, hereby files this

Motion requesting leave to file the following documents under seal: (1) Exhibit 1 to the Complaint;

(2) Exhibit 2 to the Complaint; (3) the Amended Complaint which will identify and include

additional allegations regarding Plaintiff and list the fully interactive, e-commerce stores operating

under the seller aliases identified in Schedule “A” (collectively, the “Seller Aliases”) and

accompanying exhibits; (4) Schedule “A” attached to the Complaint and Amended Complaint,

which includes a list of the Seller Aliases and the e-commerce store URLs under the Online

Marketplaces and Domain Names; (5) Plaintiffs’ Motion for Entry of a Temporary Restraining

Order, including a Temporary Injunction, a Temporary Asset Restraint, and Expedited Discovery,

and accompanying supporting memorandum, declarations, and exhibits, including screenshot

printouts showing the e-commerce stores operating under the Seller Aliases; and, (6) Plaintiffs’

Motion for Electronic Service of Process, and accompanying supporting memorandum,

declaration, and exhibits.
      Case: 1:20-cv-05058 Document #: 6 Filed: 08/28/20 Page 2 of 2 PageID #:33




       In this action, Plaintiff is requesting temporary ex parte relief based on an action for:

trademark infringement and counterfeiting; false designation of origin, passing off and unfair

competition; violation of the Illinois Uniform Deceptive Trade Practices Act; and, copyright

infringement. Sealing this portion of the file is necessary to prevent the Defendants from learning

of these proceedings prior to the execution of the temporary restraining order. If Defendants were

to learn of these proceedings prematurely, the likely result would be the destruction of relevant

documentary evidence as well as the hiding and/or transferring of assets to foreign jurisdictions,

which would frustrate the purpose of the underlying law and would interfere with this Court’s

power to grant relief. Once the temporary restraining order has been served on the relevant parties

and the requested actions are taken, Plaintiff will move to unseal these documents.



   Dated: August 27, 2020                            Respectfully submitted,

                                                     /s/ Ann Marie Sullivan
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                                                     ATTORNEYS FOR PLAINTIFF
